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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION


ROBERT (BOB) ROSS                                    §
                                                     §
VS.                                                  §         ACTION NO. 4:22-CV-343-Y
                                                     §
ASSOCIATION OF PROFESSIONAL                          §
FLIGHT ATTENDANTS, ET AL.                            §

        ORDER PARTIALLY GRANTING MOTION TO DISMISS COUNTERCLAIM

        Pending before the Court is the Motion to Dismiss Defendant's

Counterclaim (doc. 59), which was filed by plaintiff and counter-

defendant Robert (Bob) Ross. In the motion, Ross contends that the

counterclaims filed against him by the Association of Professional

Flight Attendants ("APFA") should be dismissed for the following

reasons:

        (1) the statute of limitations bars the counterclaims;

        (2) the counterclaims fail to state a claim for relief
        because they fail to satisfy the good-cause requirement
        of section 501(b) of the Labor--Management Reporting
        Disclosure Act of 1959 ("LMRDA"), 29 U.S.C. § 501(b);

        (3) the APFA lacks standing under section 301(a) of the
        Labor Management Relations Act ("LMRA"), 29 U.S.C. §
        185(a), because the statute does not permit suits by unions
        against individual members; and

        (4) the Court lacks jurisdiction over the APFA's claim
        under LMRA section 301(a) because the APFA's constitution
        is not an inter-union contract.

(Mot. to Dismiss (doc. 59) 2, 12-15.)                          After review of the motion,

the related briefs, and applicable law, the Court concludes that the

motion should be partially granted.                          The Court concludes that the

APFA's counterclaim for breach of fiduciary duty under Texas common

law is time barred. The remainder of the motion, is, however, denied.

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        In the third cause of action of its counterclaim, the APFA

asserts a claim for breach of fiduciary duty under Texas common law.1

As noted by Ross, the statute of limitations in Texas for such a claim

is four years.           See TEX. CIV. P. & REM. CODE ANN. § 16.004(a)(5) (West

2002). APFA's counterclaim contends that Ross breached his fiduciary

duties by "paying and accepting payment of monies from APFA while

President."          (Counterclaim (doc. 8) 42, ¶ 37.) APFA also admits,

however, that Ross ceased being its president on March 2, 2018. (Id.

at 34, ¶3.) APFA did not file its counterclaim in this action until

May 16, 2022, over two months after the limitations period expired.

Consequently, APFA's claim against Ross for breach of fiduciary duty

under Texas law is barred by the applicable statute of limitations.

        The Court has reviewed the remainder of Ross's motion, however,

and concludes that it must be denied.                              The Court is not persuaded

that APFA's remaining claims are time barred. The claim under LMRDA

section 501 appears to be governed by the federal doctrine of laches,

rather than the state statute of limitations upon which Ross relies.

See Teamsters, Chauffeurs, Warehousemen and Helpers, Local 764 v.

Greenawalt, 880 F. Supp. 1076, 1083-84 (M.D. Pa. 1995) (applying

federal doctrine of laches, rather than state statute of limitations,

to LMRDA section 501(a) claim challenging receipt by former president

of severance pay); cf. Erkins v. Bryan, 785 F.2d 1538, 1542-43 (11th

Cir. 1986) (affirming district court's application of doctrine of

laches to section 501 suit for an accounting);                                   Plumbers and


1
 The APFA wholly fails to specifically address this claim in its response to
Plaintiff's motion to dismiss.

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Steamfitters Union Local 10 v. Waters, 451 F. Supp. 3d 543, 550-553

(E.D. Va. 2020) (concluding that "[i]f Plaintiff's claim proves

equitable in nature, the Court should engage in a laches analysis

to determine the timeliness of the Complaint. However, if Plaintiff's

claim is legal in nature, the Court may simply dismiss the Complaint

as time-barred by the [state's] statute of limitations).                           And the

APFA's claim under LMRA section 301(a) seeking enforcement of the

arbitrator's decision is timely even under "the six-month limitations

period for Hybrid § 301 LMRA claims" Ross invokes, (Pl.'s Mot. (doc.

59) at 11), inasmuch as it was filed less than two months after the

arbitrator's March 19, 2022 decision.

        Furthermore, given that the counterclaim was filed by the APFA,

rather than a member acting after the APFA's refusal to file suit,

the good-cause requirement of LMRDA section 501(b) is inapplicable

to the APFA's claim under section 501(a).2                         See Transport Workers

Union of Am. v. Fudge, No. 3:14-CV-3639-L, 2015 WL 5664429, at *7-8

(N.D. Tex. March 24, 2015) (Horan, Mag. J.) (concluding that union


2
 Ross contends in his reply brief that the Court lacks jurisdiction to enforce
the arbitration award for the reasons stated by the United States Court of
Appeals for the Fifth Circuit in Adams-Lundy v. Association of Professional
Flight Attendants, 792 F.2d 1368, 1370 (5th Cir. 1986). In that case, the Fifth
Circuit concluded that a district court lacked jurisdiction under the LMRDA to
enforce an arbitration award "based not on federal law, but on the constitution
of the [APFA]." Id. at 1372. Ross wholly failed, however, to raise this issue
in his motion. His only arguments in his motion regarding the APFA's LMRDA
counterclaim were that it was barred by the state statute of limitations and that
the APFA failed to meet section 501(b)'s good-cause requirement. This Court does
not countenance arguments first raised in a reply brief.       See Conceal City,
L.L.C. v. Looper Law Enforcement, LLC, 2013 WL 81485, *8 (N.D. Tex. Jan. 8, 2013)
(Fitzwater, J.) (citing Senior Unsecured Creditors' Comm. of First RepublicBank
Corp. v. FDIC, 749 F. Supp. 758, 772 (N.D. Tex. 1990) (Fitzwater, J.)); see also
Tran Enters, LLC v. DHL Exp. (USA), Inc., 627 F.3d 1004, 1010 (5th Cir. 2010)
(noting that issues first raised in a reply brief "are not properly before the
court"). Consequently, although the Court may be required to address the Fifth
Circuit's decision in Adams-Lundy at some point in this lawsuit, it will not do
so when first raised by way of a reply brief.

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has an implied cause of action under LMRDA section 501(a) and does

not need to meet the good-cause requirements of section 501(b) before

filing suit).           And the Court is not persuaded that the APFA lacks

standing under LMRA section 301(a), at least to the extent it seeks

injunctive relief. See Service Emps. Int'l Union v. Nat'l Union of

Healthcare Workers, 598 F.3d 1061, 1070 (9th Cir. 2010) ("the Second

and Eleventh Circuits have expressly held that section 301(a) permits

injunctive suits against individual defendants for violations of a

union constitution) (citing Shea v. McCarthy, 95 3 F.2d 29, 32 (2d

Cir. 1992); Int'l Union of Elec. v. Statham, 97 F.3d 1416, 1421-22

(11th Cir. 1996)). Finally, it appears clear that the APFA's

constitution is a contract between labor organizations within the

purview of LMRA section 301.                     See APFA's App. to Mot. for Summ. J.

(doc. 44) at 2-4; see also United Ass'n of Journeymen and Apprentices

of Plumbing and Pipefitting Indus. v. Local 334, 452 U.S. 615, 619-622

(1981).

        For the foregoing reasons, Plaintiff's Motion to Dismiss

Defendant's Counterclaim (doc. 59) is PARTIALLY GRANTED, in that the

third cause of action in the APFA's counterclaim (for breach of

fiduciary duty under Texas common law) is DISMISSED WITH PREJUDICE

to its refiling.

        SIGNED February 22, 2023.

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                                                          TERRY R. MEANS
                                                          UNITED STATES DISTRICT JUDGE




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